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                           United States Court of Appeals
                                       FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 21-1256                                                               September Term, 2024
                                                                                    FERC-EL21-66-000
                                                                                  FERC-ER21-1647-001

                                                              Filed On: September 20, 2024 [2075912]
Central Hudson Gas & Electric Corporation, et
al.,

                    Petitioners

         v.

Federal Energy Regulatory Commission,

                    Respondent

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Alliance for Clean Energy - New York, et al.,
                    Intervenors
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Consolidated with 21-1257

         BEFORE:             Circuit Judges Katsas, Walker, and Garcia


                                 COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Friday, September 20, 2024 at 9:31
a.m. The cause was heard as case No. 1 of 2 and argued before the Court by:


       Jason B. Tompkins, counsel for Petitioners.
       William M. Keyser, counsel for Intervenor for Petitioners.
       Jason T. Perkins (FERC), counsel for Respondent.
       Scott H. Strauss, counsel for New York State Public Service Commission.
       Gabriel Tabak, counsel for Respondent-Intervenors.


                                                                     FOR THE COURT:
                                                                     Mark J. Langer, Clerk

                                                             BY:     /s/
                                                                     Anne A. Rothenberger
                                                                     Deputy Clerk
